AO 245B (Rev. 09/19)   Judgmentin a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                          Southern District of Ohio

             UNITED STATES OF AMERICA                                            JUDGMENTIN A CRIMINALCASE
                                  V.

                       Thomas M. Develin                                         Case Number: 2:22-cr-178

                                                                                 USM Number: 08421-510

                                                                                  Robert Krapenc, Esq.
                                                                                 Defendant'sAttorney
THE DEFENDANT:
£1pleaded guilty to count(s)           1, 2and 3 ofthe Information.
D pleadednolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section                  Nature of Offense                                                      Offense Ended             Count

26:5861 (f) and 5871             Making a Firearm in Violation of the National Firearms Act             3/31/2022            1

26:5861(a) and 5871              Unlawfully Engaging in the Business of Manufacturing                   3/31/2022            2


                                 and Dealing Machineguns

       The defendant is sentenced as provided in pages 2 through             1         ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D The defendanthas been foundnot guilty on count(s)
DCount(s)                                              D is     D are dismissed on the motion ofthe United States.

        It is orderedthatthedefendantmustnotiiytheUnitedStatesattorneyforthisdistrictwithin30daysofanychangeofname,residence,
ormailingaddressuntilallfines,restitution, costs,andspecialassessmentsimposedbythisjudgmentarefullypaid. Iforderedtopayrestitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                       2/28/2023
                                                                      Date of Imposition of/uftgment


                                                                                       cf^^ii^
                                                                      SignatureofJudge




                                                                                        Sarah D. Morrison, U. S. District Judge
                                                                      Name and Title ofJudge



                                                                      Date
                                                                                            ^'^-^
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet1A

                                                                                     Judgment-Page       of
DEFENDANT: Thomas M. Develin
CASE NUMBER: 2:22-cr-178

                                           ADDITIONALCOUNTS OF CONVICTION

Title & Section                  Nature of Offense                               Offense Ended       Count
18:922(a)(1)(A)                   Manufacturing and Dealing Firearms Without a    3/31/2022          3

&924(a)(1)(D)                     License
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                  Judgment- Page       of
 DEFENDANT: Thomas M. Develin
 CASE NUMBER:             2:22-cr-178

                                                          IMPRISONMENT

          The defendantis herebycommitted to the custodyofthe FederalBureau ofPrisonsto be imprisonedfor a
total term of:
 71 months on Counts 1 & 2 and 60 months on Count 3 ofthe Informationto be served concurrently with each other.




      2.1 The court makes the following recommendations to the Bureau ofPrisons:
          The Defendantis to participate in substanceabusetreatment, mental health counseling and vocational programming
           while incarcerated.




      0 Thedefendantisremandedto thecustodyoftheUnitedStatesMarshal.

      D The defendantshall surrenderto the United States Marshal for this district:

          D at                                   D a.m.      D p.m.      on
          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:
          D before 2 p.m. on

          D as notified by the United States Marshal.
          D as notifiedby the Probationor Pretrial Services Office.


                                                                RETURN

I have executedthisjudgment as follows:




          Defendant delivered on                                                      to

at                                                , with a certified copy ofthisjudgment.



                                                                                               UNITEDSTATESMARSHAL


                                                                       By
                                                                                            DEPUTYUNITEDSTATESMARSHAL
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet3 - Supervised Release
                                                                                                         Judgment-Page          of
DEFENDANT: Thomas M. Develin
CASENUMBER: 2:22-cr-178
                                                          SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
 2 years on Counts 1 , 2 and 3 of the Information to be served consecutively with each other.




                                                      MANDATORY CONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      Youmust refrain from anyunlawfuluseofa controlled substance. Youmust submitto one drugtestwithin 15 daysofreleasefrom
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drugtesting conditionis suspended,basedon the court's determinationthatyou
                    pose a low risk of future substance abuse, (checkifapplicable)
4.       D You must make restitution in accordance with 18 U. S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (check if applicable)
5.       El You must cooperate in the collection ofDNA as directed by the probation officer. (checkifapplicable)
6.       D You must comply with the requirements ofthe Sex Offender Registration andNotification Act (34 U. S. C. §20901, etseq. ) as
           directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (checkifapplicable)
7.       D You must participate in an approved program for domestic violence, (check ifapplicable)

Youmust comply with the standardconditionsthathavebeen adoptedby this court aswell aswith any otherconditionson the attached
page.
A0245B (Rev. 09/19)   Judgmentin a Criminal Case
                      Sheet3A - Supervised Release
                                                                                               Judgment-Page                  of
DEFENDANT: Thomas M. Develin
CASE NUMBER: 2:22-cr-178

                                      STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervisedrelease,youmust comply withthe followingstandardconditionsofsupervision. Theseconditionsare imposed
becausethey establishthe basicexpectationsfor yourbehaviorwhileon supervisionand identifythe minimumtools neededby probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answertruthfully the questions askedby your probation officer.
5.   Youmust live at a place approvedby the probationofficer. Ifyou planto changewhereyou live or anythingaboutyour living
     arrangements(such asthe peopleyou live with), you must notify the probationofficerat least 10 daysbeforethe change. Ifnotifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours ofbecoming aware ofa change or expected change.
6.   Youmust allowthe probationofficerto visityou at anytime atyourhome or elsewhere,andyou must permit theprobation officerto
     take any items prohibited by the conditions ofyour supervision that he or she observes in plain view.
7.   Youmust workfull time (at least30hoursperweek) at a lawful type ofemployment, unlessthe probationofficerexcusesyou from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doingso. Ifyou plan to changewhereyou work or anythingaboutyourwork(such asyourposition oryourjob
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware ofa change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convictedofa felony, you mustnot knowinglycommunicateor interactwiththatpersonwithoutfirst gettingthe permission ofthe
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i. e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agencyto act as a confidential human source or informant without
    first getting the permission ofthe court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     requireyou to notify the person abouttherisk andyoumust complywith that instruction. Theprobation officermay contactthe
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions of supervision.



U. S. Probation Office Use Only
A U. S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgmentcontainingthese conditions. Forfurtherinformationregardingthese conditions, see Oven'iew ofProbationandSupervised
Release Conditions, available at: www.uscourts. gov.


Defendant's Signature                                                                                    Date
A0245B(Rev. 09/19)   Judgmentin a Criminal Case
                     Sheet3D - SupervisedRelease
                                                                                            Judgment-Page         of
DEFENDANT: Thomas M. Develin
CASE NUMBER: 2:22-cr-178

                                      SPECIAL CONDITIONS OF SUPERVISION
 1. Defendantshall participate in a program of mental health counseling (to include anger managementcounseling) as
 directed by the U. S. Probation Office, until released from the program by the probation office. The defendant will make a
 co-payment for treatment services not to exceed $25 per month, which is determined by the defendant's ability to pay.

2. Defendantshall participate in a program of alcohol and controlled substance abuse counseling as directed by the U. S.
Probation Office, until released from the program by the probation office. The defendant will make a co-payment for
treatment services not to exceed $25 per month, which is determined by the defendant'sability to pay.

3. Vocational services program as directed by the probation officer, may include on the job training,job readinesstraining,
and skills development training.
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary' Penalties
                                                                                                           Judgment- Page            of
 DEFENDANT: Thomas M. Develin
 CASE NUMBER: 2:22-cr-178
                                                CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment              Restitution                    Fine                  AVAA Assessment*           JVTA Assessment**
TOTALS            $ 300. 00                                               $                     $




 D   The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.


 D The defendantmustmakerestitution (includingcommunity restitution) to the followingpayeesin the amount listedbelow.

     Ifthe defendantmakesa partialpayment, eachpayeeshallreceivean approximatelyproportionedpayment, unlessspecifiedotherwisein
     the priority order or percentage payment column below. However, pursuant to 18 LT. S. C. § 3664Q), all nohfederal victims must be paid
     before the'United States is paid.'

Name of Payee                                                    Total Loss***                  Restitution Ordered         Priority or Percentage




TOTALS                                                            0. 00                                   0. 00


D     Restitution amountorderedpursuantto pleaagreement $

D     The defendant must pay interest on restitution and a fine ofmore than $2, 500, unless the restitution or fine is paid in full before the
      fifteenth day after the date ofthejudgment, pursuant to 18 U. S. C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuantto 18 U. S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the               D fine        D restitution.

      D the interest requirement for the            D     fine     D restitution is modified as follows:

* Amy, Vicky, and Andy^hild PornographyVictim Assistance Act of2018, Pub. L. No. 115-299.
** Justice for Victims ofTraffickingActof2015, Pub. L. No. 1 14-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet6 - Scheduleof Payments

                                                                                                              Judgment - Page               of
 DEFENDANT: Thomas M. Develin
 CASE NUMBER: 2:22-cr-178


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A     0 Lump sum payment of $            300. 00               due immediately, balance due

            Q    not later than                                    , or
            a     in accordancewith DC,            D D,        Q    E, or      Q F below; or

B     D Paymentto begin immediately(may be combinedwith                     DC,         D D, or       D F below); or

C     D    Payment in equal                        (e. g., weekly, monthly, quarterly) installments of $               over a period of
                           (e. g., months or years), to commence                   (e. g., 30 or 60 days) after the date ofthis judgment; or

D     D    Payment in equal                        (e. g., weekly, monthly, quarterly) installments of $                over a period of
                           (e. g., months or years), to commence                   (e. g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     d    Payment duringthe tenn of supervised release will commence within                               (e. g., 30 or 60 days) after release from
           imprisonment. The court will setthe paymentplan basedon an assessmentofthe defendant'sability to pay atthattime; or
F     D    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties isduedurii
the period^of imprisonment. ' All criminal monetary penalties, except those'payments made through the Federal Bureau of Prisons''Inmate
Financial Responsibility Program, are made to the clerk ofthe court.

The defendantshall receive credit for all paymentspreviously madetowardany criminal monetarypenalties imposed.



D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                    Joint and Several                 CorrespondingPayee,
      (including defendant number)                        Total Amount                        Amount                            ifappropriate'




D     The defendant shall pay the cost ofprosecution.

D     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:
      The defendantshall forfeit any and all property to be indicated in the Final Orderof Forfeiture yet to be filed.


Paymentsshall be appHedin the followingorder: (1) assessment, (2)_restitution principal, (3) restitution interest, (4) AVAAassessment,
(5) fine principal, (6)"fine interest, (7) community restitution, (8) JVTA assessment, (^) penalties, and (10) costs', including cost"of
prosecution arid court costs.
            IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF OHIO

    8/13/01: POLICY CHANGE RESTRICTING PUBLIC DISCLOSURE
     OF THE STATEMENT OF REASONS PAGE IN THE JUDGMENT



            DISTRIBUTION OF
    THE JUDGMENT AND COMMITMENT
  WITH THE STATEMENT OF REASONS PAGE
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          UNITED STATES ATTORNEY
    U. S.A. 's FINANCIAL LITIGATION UNIT
         UNITED STATES PROBATION
          UNITED STATES PRETRIAL
 UNITED STATES SENTENCING COMMISSION
(IF A TERM OF IMPRISONMENT, THEN ALSO THE
        FEDERAL BUREAU OF PRISONS)

   THE CLERK OF COURTS WILL MAINTAIN THE OFFICIAL VERSION
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